                                                December 23, 2024

             VIA ECF

             Hon. Arun Subramanian
             United States District Judge
             Southern District of New York
             500 Pearl Street
             New York, NY 10007

                    Re:      United States v. Combs, 24-cr-542 (AS)

             Dear Judge Subramanian:

                     We write on behalf of Sean Combs, with the consent of the government, to request
             a brief extension to file the defense’s reply to the government’s response. (ECF 117.) The
             defense’s reply is currently due Friday, December 27, 2024. We request a short
             adjournment to Monday, December 30, 2024. The reason for this request is that MDC
             informed counsel today that legal video teleconferences will be cancelled (at least in Mr.
             Combs’ unit) from December 24 – December 26, 2024. Due to counsel’s travel schedule
             for the holiday, we will not be able to review the reply with Mr. Combs in person, and
             need to utilize the video teleconference. Accordingly, we request that our reply be due
             December 30, 2024, to afford Mr. Combs the opportunity to review and participate in the
             drafting of the reply prior to filing.
GRANTED. The Clerk of Court is respectfully directed      Respectfully submitted,
to terminate the motion at ECF No. 118.

SO ORDERED.

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Hon. Arun Subramanian
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cc:   All counsel (via ECF)




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